Case 2:04-cr-20502-SH|\/| Document 48 Filed 07/19/05 Page 1 of 2 Page|D 67

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE am BY-...

WESTERN DIvIsIoN 0 ""“'°'°
5"“”- 19 PH he | 3
UNITED sTATEs oF AMERICA WMS tt soap
W lé§. DiSTRiCTCO[M
v Cr. No. 04-20502-Ma m ME%MS

JEFFREY HARDIN

ORDER REVOKING BOND
This cause came on to be heard on 07/14/05, pursuant to a petition for revocation of bond
filed by Pretrial Services, alleging violation of the conditions of the defendant's pretrial release.
After hearing evidence, the court determined that the conditions of the defendant's pretrial release
had been violated; therefore, it is ORDERED that the defendant's bond be and hereby is revoked.

The defendant will be held in custody pending the trial of this matter.

F<//Za;a Qo

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

DATE: (9.“,@" /5}, 209(

This document entered on the docket sheet in compliance

with Rule 55 ana/or 32(b) FRCrP on 7-¢£@ -Q)S

4/§

 

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 48 in
case 2:04-CR-20502 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

J. Patten BroWn
200 Jefferson, Suite 200
l\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

